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                              Exhibit 1
Case: 1:24-cv-04790 Document #: 1-1 Filed: 06/10/24 Page 2 of 9 PageID #:19
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